Information to identify the case:
Debtor 1              David Garcia                                                  Social Security number or ITIN    xxx−xx−8121
                      First Name   Middle Name    Last Name                         EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                            Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                    EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Alabama
                                                                                    Date case filed for chapter 7 April 4, 2019
Case number:          19−80539


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                 12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

No one in the bankruptcy clerk's office may give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                              About Debtor 2:

1.      Debtor's full name                       David Garcia

2.      All other names used in the aka David P. Garcia, aka David Pedro
        last 8 years                Garcia, dba NATIONAL HOUSING
                                    PRESERVATION ADVISORS, LLC. (JULY
                                    2017 − PRESENT), dba CAMBRIDGE
                                    HOUSING PARTNERS, LLC. (APRIL/MAY
                                    2013 − PRESENT), dba NHPA
                                    DEVELOPMENT, LLC (JUNE 2018 −
                                    PRESENT), dba AFFORDABLE HOUSING/
                                    REAL ESTATE DEVELOPMENT

3.      Address                                  743 Oakdale Drive
                                                 Auburn, AL 36830

4.     Debtor's attorney                     Mary Conner Pool                                 Contact phone 334−264−3363
       Name and address                      Bond, Botes, Shinn & Donaldson, P.C.
                                             Post Office Box 4479                             Email: mpool@bondnbotes.com
                                             Montgomery, AL 36103

5.     Bankruptcy trustee                    Cecil M. Tipton Jr.                              Contact phone 334−742−9400
       Name and address                      Ray & Tipton
                                             606 Avenue A
                                             Opelika, AL 36801
                                                                                                      For more information, see page 2 >

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Debtor David Garcia                                                                                                            Case number 19−80539


6. Bankruptcy clerk's office                One Church Street                                                     Hours open 8:30 AM − 4:00 PM
                                            Montgomery, AL 36104
   Documents in this case may be                                                                                  Contact phone 334−954−3800
   filed at this address. You may
   inspect all records filed in this case
   at this office or online at                                                                                    Date: April 5, 2019
   www.pacer.gov.

7. Meeting of creditors                     May 30, 2019 at 09:00 AM                                              Location:

   Debtors must attend the meeting to The meeting may be continued or adjourned to a later                        U.S. Bankruptcy Court, George
   be questioned under oath. In a joint                                                                           W. Andrews Federal Building,
   case, both spouses must attend.      date. If so, the date will be on the court docket.
   Creditors may attend, but are not    Valid photo identification required.                                      701 Avenue A, Opelika, AL
   required to do so.                   No cell phones or cameras will be allowed in the building.                36801
8. Presumption of abuse                     The presumption of abuse does not arise.

   If the presumption of abuse arises,
   you may have the right to file a
   motion to dismiss the case under
   11 U.S.C. § 707(b). Debtors may
   rebut the presumption by showing
   special circumstances.

9. Deadlines                                 File by the deadline to object to discharge or to                      Filing deadline: July 29, 2019
                                             challenge whether certain debts are dischargeable:
   The bankruptcy clerk's office must
   receive these documents and any
   required filing fee by the following      You must file a complaint:
   deadlines.                                • if you assert that the debtor is not entitled to
                                               receive a discharge of any debts under any of the
                                               subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                               or

                                             • if you want to have a debt excepted from discharge
                                               under 11 U.S.C § 523(a)(2), (4), or (6).

                                             You must file a motion:
                                             • if you assert that the discharge should be denied
                                               under § 727(a)(8) or (9).


                                             Deadline to object to exemptions:                                      Filing deadline: 30 days after the
                                             The law permits debtors to keep certain property as exempt. If you     conclusion of the meeting of creditors
                                             believe that the law does not authorize an exemption claimed, you
                                             may file an objection.

10. Proof of claim                           No property appears to be available to pay creditors. Therefore, please do not file a proof of
                                             claim now. If it later appears that assets are available to pay creditors, the clerk will send you
    Please do not file a proof of claim      another notice telling you that you may file a proof of claim and stating the deadline.
    unless you receive a notice to do
    so.

11. Creditors with a foreign                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                  asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                             United States bankruptcy law if you have any questions about your rights in this case.
12. Exempt property                          The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                             sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                             may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe
                                             that the law does not authorize an exemption that the debtors claim, you may file an
                                             objection. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                             exemptions in line 9.
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